       Case 3:23-cv-00155 Document 7 Filed on 07/27/23 in TXSD Page 1 of 3




                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

 BRIANNE DRESSEN, et al.,                      §
                                               §
        Plaintiffs,                            §
                                               §
 v.                                            §      Civil Action 3:23-cv-155
                                               §
 ROB FLAHERTY, White House                     §
 Director of Digital Strategy, in his          §
 official capacity; et al.,                    §
                                               §
        Defendants.                            §

      DEFENDANTS’ CONSENT MOTION FOR AN EXTENSION OF TIME

       Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and Rule 7 of the

Court’s local rules, Defendants respectfully request a 14-day extension of time, to and

including August 14, 2023, to respond to Plaintiffs’ complaint in this matter. The

current deadline for response is July 31, 2023. This is Defendants’ first request for an

extension of time for that purpose. As indicated in the accompanying certificate of

service, Plaintiffs consent to this request.

       This extension is necessary because the parties are currently in the process of

discussing an appropriate schedule for proceedings in this matter. Defendants have

proposed to Plaintiffs an approach that they believe would appropriately balance the

interests of resolving this case in a timely way with an efficient use of the parties’ and

the Court’s resources. Counsel for both sides are scheduled to confer further on this

proposal next week and hope to arrive at an agreement. If those discussions prove
      Case 3:23-cv-00155 Document 7 Filed on 07/27/23 in TXSD Page 2 of 3




fruitful, they may obviate the need for Defendants to respond to Plaintiffs’ complaint

at this time.

       In light of these ongoing discussions, the parties have therefore agreed to a 14-

day extension of time for Defendants’ current answer deadline.            Accordingly,

Defendants respectfully request that the Court grant this motion and delay

Defendants’ current answer deadline until August 14, 2023.



                                        Respectfully Submitted,

                                        BRIAN M. BOYNTON
                                        Principal Deputy Assistant Attorney General

                                        JOSHUA E. GARDNER
                                        Special Counsel

                                        /s/ Alexander V. Sverdlov
                                        ALEXANDER V. SVERDLOV (NY Bar
                                        4918793)
                                        PARDIS GHEIBI
                                        Trial Attorneys
                                        United States Department of Justice
                                        Civil Division, Federal Programs Branch
                                        1100 L Street, N.W.
                                        Washington, DC 20005
                                        Tel: (202) 305-8550
                                        alexander.v.sverdlov@usdoj.gov

Dated: July 27, 2023                    Counsel for Defendants




                                          -2-
      Case 3:23-cv-00155 Document 7 Filed on 07/27/23 in TXSD Page 3 of 3




                        CERTIFICATE OF CONFERENCE

      Counsel for Defendants conferred with counsel for Plaintiffs about this motion

via email; counsel for Plaintiffs indicated that Plaintiffs consent to this motion.




                            CERTIFICATE OF SERVICE

      I certify that on July 27, 2023, a true and correct copy of the foregoing was

filed with the United States District Clerk for the Southern District of Texas and

electronically served on all counsel of record via the District’s ECF system.



                                 s/ Alexander V. Sverdlov




                                           -3-
